     Case 3:16-md-02741-VC            Document 20411          Filed 03/31/25      Page 1 of 11




                                UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


    IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
    LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


    This document relates to:                        PRETRIAL ORDER NO. 324: ORDER
                                                     GRANTING IN PART AND DENYING
    SEE ATTACHMENT                                   IN PART MONSANTO’S MOTIONS
                                                     TO EXCLUDE EXPERT KEVIN
                                                     KNOPF AND FOR SUMMARY
                                                     JUDGMENT
                                                     Re: Dkt. Nos. 18993, 19048

        Monsanto’s motions to exclude the specific causation opinions of Dr. Kevin Knopf are

granted in part and denied in part. This ruling assumes the reader’s familiarity with the facts, the

applicable legal standard, the prior Daubert rulings in this MDL, and the arguments made by the

parties. See generally In re Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D.

Cal. 2018) (Pretrial Order No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation,

358 F. Supp. 3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v.

Monsanto Company, 997 F.3d 941 (9th Cir. 2021).1

        Over two different motions, Monsanto moved to exclude Knopf in 23 individual cases. In

each of the cases, Monsanto’s only live arguments relate to Knopf’s “ruling out” process. See

Monsanto Replies (Dkt. Nos. 19533, 19538, 19539, 19540). Knopf has previously submitted

very sloppy opinions in this MDL. See Pretrial Order No. 295 (Dkt. No. 19614) at 2. His work



1
 Monsanto filed a supplemental brief with additional testimony from Knopf depositions that
occurred after the deadline for filing its motions. The plaintiffs’ motion to strike that brief is
denied.
     Case 3:16-md-02741-VC           Document 20411          Filed 03/31/25      Page 2 of 11




on these cases is no different. For example, as Monsanto points out about Knopf’s reports in

Coressel and Aldoupolis, it seems obvious that Knopf used a “find-and-replace” function to swap

one plaintiff’s last name with another. See Reply (Dkt. No. 19538) at 3. That’s not, on its own,

inherently problematic. There are bound to be many similarities between reports in different

cases, especially relating to general discussions of the literature and NHL risk factors. But when

the copying of other reports bleeds over into plaintiff-specific information, it makes it impossible

to know which sections of a report represent Knopf’s analysis in that case, and which are the

product of his lack of attention. In cases where that occurred, his opinion will be excluded.

       1. Knopf’s opinion is excluded in Doran because he failed to consider the plaintiff’s

morbid obesity. In fact, his report stated that “obesity is NOT a risk factor for NHL,” despite

only citing a single study that seemed to address obesity and NHL. Knopf Report (Doran) (Dkt.

No. 18993-8) at 10. Knopf walked that back during his deposition and admitted that he “can’t

rule out a link between obesity and NHL.” Knopf Dep. (Doran) (Dkt. No. 18993-25) at 45:4–12.

He even tried to belatedly address this error by filing a supplemental report after Monsanto filed

its motion that purported to consider the plaintiff’s obesity. Knopf’s supplemental report is

stricken, because it would not be fair (particularly in the context of this MDL) to allow plaintiffs

to respond to Daubert motions by filing supplemental expert reports. Knopf’s treatment of

obesity precludes him from testifying in Doran.
       2. Knopf’s opinion in Aldoupolis is excluded. The similarities between his report in

Aldoupolis and Coressel have already been noted. It’s impossible to tell which plaintiff the social

history information applies to, or how Knopf considered the information. In addition, his casual

dismissal of the plaintiff’s brother’s multiple myeloma lacks scientific rigor. He said in his report

that “there is epidemiologic evidence linking a family history of NHL or myeloid leukemias with

an increased risk for developing non-Hodgkin’s lymphoma.” Knopf Report (Aldoupolis) (Dkt.

No. 18993-2) at 19–20. He nonetheless excluded it as a risk factor because “it may be that his

multiple myeloma was caused by benzene exposure. Even if not, it would be considered
probably a minor risk factor.” See Knopf Dep. (Aldoupolis) (Dkt. No. 19429-3) at 76:9–14.


                                                  2
     Case 3:16-md-02741-VC            Document 20411         Filed 03/31/25      Page 3 of 11




Monsanto gave Knopf a chance to explain his analysis in his deposition, and this was all he could

offer. It is inadequate.

        3. Knopf’s testimony is also excluded in Casale. His deposition testimony showed he was

unfamiliar with key studies about risk factors that he purported to rule out. See Knopf Dep.

(Casale) at 79:11–81:19 (hair dye), 82:6–9 (alcohol). And he admitted that for at least one of

those factors (hair dye), he would change his report to say it “may have been a potential risk

factor to her development of lymphoma.” Id. at 80:6–7. He offered no explanation for how he

can nonetheless conclude that the plaintiff’s exposure to Roundup is the more likely cause of her

NHL.

        4. Knopf’s testimony is excluded in Holliday because he did not investigate whether the

plaintiff’s family history of non-hematological cancers or his type 2 diabetes were risk factors for

his NHL. Regarding family history, Knopf testified that “the standard teaching for oncologists is

not that a family history of a non-leukemia lymphoma is associated with an increased risk of

lymphoma.” Knopf Dep. (Holliday) (Dkt. No. 18993-26) at 26:8–12. But he admitted that he

hadn’t “had a chance to review those studies that well” that address a potential link between a

family history of non-hematological cancers and NHL. Id. at 26:24–27:1. Knopf appeared

confused about diabetes as a risk factor, testifying during deposition that he was looking at a

study showing an association between type 2 diabetes and NHL, but also saying that the only
reason he wrote that it was a risk factor in a report for a different case was that he was writing

the report late at night. See Knopf. Dep. (Holliday) (Dkt. No. 19429-20) at 38:12–5. It’s clear

that Knopf did not adequately address either risk factor, rendering his opinion unreliable.

        5. Knopf will be permitted to testify in Putzrath. His report is far from perfect, and

Monsanto certainly has plenty of fodder for cross examination, but the issues it raises (age, race,

gender, not determining whether the plaintiff was obese in adolescence, and his exposure

calculations) are too minor to require his exclusion.

        6. Knopf’s handling of the plaintiff’s morbid obesity in Sorrell requires his exclusion.
Knopf admitted that a line from his report saying that a meta-analysis by Larsson showed no


                                                  3
     Case 3:16-md-02741-VC           Document 20411          Filed 03/31/25      Page 4 of 11




statistically significant increase in risk of Orbital MALToma (the plaintiff’s NHL subtype) with

obesity was “probably a previous template and that’s a typo.” Knopf Dep. (Sorrell) (Dkt. No.

18993-29) at 32:5–24. The same is true for Knopf’s report’s mention of a study by Willet, which

he admitted contained a typo, though it’s hard to tell what that typo actually is. See id. at 35:25–

4. His report said that Willet found no consistent effect of obesity on the risk of NHL, but did

find an elevated risk of Orbital MALToma for people with morbid obesity. See Knopf Report

(Sorrell) (Dkt. No. 18993-14) at 19. That seems to be the basis for his report’s conclusion that

Sorrell’s morbid obesity put him at “moderate risk” for NHL. Id. at 33. After being confronted

with his incorrect citations, Knopf somehow changed his opinion from Sorrel’s morbid obesity

being a “moderate” risk factor to a “minor” one. See Knopf Dep. (Sorrell) (Dkt. No. 18993-29)

at 43:11–14. Knopf’s poor quality report and changing opinions show his process was unreliable

in Sorrell.

        7. At first glance, Monsanto’s arguments in Stackhouse seem strong. Ignoring or missing

the kind of significant family history and Agent Orange exposure that the plaintiff reported

during a doctor’s appointment would probably require his conclusion. But even Monsanto admits

that the plaintiff’s explanation for why that medical record shouldn’t be trusted is plausible: he

was suffering from brain cancer at the time, not functioning well mentally, and may have

invented his sisters’ lymphomas and his Agent Orange exposure. See Opp (Dkt. No. 19429) at
18. No other evidence seems to corroborate the plaintiff’s assertion, and some evidence seems to

contradict it. See Stackhouse Dep. (Dkt. No. 19429-28) at 244:4–23. So while it’s not a good

look for Knopf that he didn’t review the record before he formed his opinions, the fact that he

missed it doesn’t require his exclusion. His explanations for how he considered the plaintiff’s

post-NHL-diagnosis diabetes, age, ethnicity, and gender are also acceptable.

        8. Knopf’s testimony is excluded in Williams. As in Holliday, Knopf admitted at

deposition that he did not conduct an adequate investigation into obvious potential risk factors,

including a family history of non-hematological cancer, type 2 diabetes, and exposure to benzene
and other chemicals, all of which applied to the plaintiff. See Knopf Dep. (Williams) (Dkt. No.


                                                  4
     Case 3:16-md-02741-VC             Document 20411          Filed 03/31/25      Page 5 of 11




18993-31) at 146:24–147:4 (family history), 139:23–140:5 (diabetes), 158:13–20 (benzene).

        9. Knopf is precluded from testifying in Booth because of inconsistencies in his opinions

about the plaintiff’s family history of cancer. In his report, he stated that “there are not felt to be

significant associations with germline mutations” and NHL, so ruled out the plaintiff’s three

first-degree relatives with non-hematological cancer. Knopf Report (Booth) (Dkt. No. 18993-3)

at 7. But at deposition, he seemed to change his mind, acknowledging that there was some

evidence of an association and implying that he did not do a thorough job reviewing the literature

relating to family history. See Knopf Dep. (Booth) (Dkt. No. 19438-4) at 29:1–14 (“I think in my

current reports I do a better job of actually going through and summarizing some of the literature

here because there's some positive studies and some negative studies.”). When pressed for an

explanation of how he assessed the plaintiff’s family history, Knopf acknowledged that some

studies show solid tumors are related to NHL but vaguely said that “was never part of my

teaching along the way in oncology training or something that I hear oncologists talk much

about.” Id. at 38:9–21. That is not a reliable explanation.

        10. Knopf’s testimony is excluded in Coressel because of the copy-and-paste errors

discussed at the beginning of this order and for how he handled the plaintiff’s obesity. His

report’s discussion of obesity is a near-copy of that from his report in Sorrell, although it

apparently doesn’t have the same typos that report did. As in Sorrell, his report here indicated
that the plaintiff’s obesity was a “moderate risk factor” for NHL. See Knopf Report (Coressel)

(Dkt. No. 18993-5) at 35. At deposition, Knopf seemed to not remember opining that Sorrell’s

obesity was a moderate risk factor and explained that he wasn’t convinced that there was a

biological mechanism for obesity to cause NHL, regardless of what the epidemiologic studies

say. See Knopf Dep. (Coressel) (Dkt. No. 18993-22) at 48:5–22. But invoking the lack of a

biological mechanism is not a talisman that can banish epidemiological evidence that an expert

disagrees with.

        11. Knopf’s testimony is excluded in Cryan, where he gave unreliable explanations for
how he ruled out the plaintiff’s personal history of cancer. At deposition, Monsanto presented


                                                   5
     Case 3:16-md-02741-VC              Document 20411        Filed 03/31/25      Page 6 of 11




evidence to Knopf that the McDuffie study “found nearly a 2.5-fold increase in the likelihood of

developing NHL after experiencing a previous history of cancer.” Knopf Dep. (Cryan) (Dkt. No.

19438-8) at 64:8–10. Knopf agreed that the study “found a statistically significant association in

their analysis of a personal history of cancer being associated with NHL, but I’m not going to

think that’s a big risk factor.” Id. at 64:11–15. Rather than raise specific criticism of the

McDuffie study, Knopf made vague allusions to the literature, saying “it’s not emerged that

personal history of nonmalignant cancer has been a strongly associated risk factor with

lymphoma.” Id. at 18–22. This point seems to share some similarities with the point he made in

Coressel about the lack of a biological mechanism—rather than explain why the conclusions

Monsanto draws from the literature are wrong, Knopf employs generalities to disregard evidence

he doesn’t like. That is not science.

        12. Monsanto has not presented evidence that any of the six other chemical agents the

plaintiff in Dominique was exposed to are correlated with NHL. Therefore, Knopf will be

allowed to testify in that case.

        13. In Rhuland Monsanto contends Knopf did not give scientifically valid reasons to rule

out the plaintiff’s obesity or smoking history. In this case, unlike in some of the others addressed

in this order, Knopf showed a little more fluency with the literature, pointing out that the data are

strongest for an individual with morbid obesity, which does not apply to this plaintiff. See Knopf
Dep. (Rhuland) (Dkt. No. 19438-12) at 29:25–30:5. With respect to smoking, Knopf noted that

the plaintiff stopped smoking 16 years before his diagnosis, and analogized the relationship

between NHL and smoking to lung cancer and smoking, noting that the risk of lung cancer drops

off significantly 10 years after the individual stops smoking. See id. at 26:17–10. This seems

questionable, because there has been plenty of testimony in this MDL that NHL can have a

latency period of 20 years, which presumably makes it different from lung cancer. But Monsanto

has not presented evidence showing that the analogy is so inapt as to be junk science.

Accordingly, the motion is denied.
        14. Knopf is excluded in Rowland due to how he handled the plaintiff’s obesity. Knopf


                                                   6
     Case 3:16-md-02741-VC             Document 20411          Filed 03/31/25    Page 7 of 11




admitted that there is an association between obesity and NHL and, in particular, between

childhood obesity and NHL. See Knopf Dep. (Rowland) (Dkt. No. 19438-14) at 76:21–77:14.

Unlike in Putzrath, where Monsanto argued for exclusion because Knopf failed to determine

whether the plaintiff was obese in adolescence, here Knopf testified that the plaintiff was indeed

obese in childhood. See id. at 76:14–20. He also wrote in his report that the plaintiff was obese at

the time of his NHL diagnosis. See Knopf Report (Rowland) (Dkt. No. 18993-12) at 35. He gives

no reliable explanation for how he could exclude this risk factor, so his testimony is excluded.

        15. Knopf is excluded in Setzer because he failed to investigate the plaintiff’s common

variable immunodeficiency (CVID). Knopf admitted that CVID is a risk factor for NHL, and that

he missed the plaintiff’s CVID diagnosis when he drafted his report. See Knopf Dep. (Setzer)

(Dkt. No. 19240-9) at 39:24–40:7. He even mentioned the possibility of drafting a supplemental

report to address that risk factor, but it doesn’t look like he did so.

        16. Knopf’s explanation for how he ruled out the plaintiff’s exposure to other pesticides

in Wistinghausen requires his exclusion. Knopf testified that “some of those pesticides are linked

to NHL.” Knopf Dep. (Wistinghausen) (Dkt. No. 19240-10) at 26:23–24. His explanation that “it

may be that the GBH exposure was what tipped him over the edge to lymphoma genesis” does

not reflect a reliable “ruling out” of the other exposures. Id. at 29:5–7.

        17. Knopf is excluded in Eilmes because his explanation for how he ruled out the
plaintiff’s exposure to the pesticide 2,4-D is unreliable. He testified at deposition that “2,4-D has

been in several of the studies I’ve reviewed as a potential causative agent for NHL,” but that the

plaintiff used substantially more Roundup than 2,4-D. Knopf Dep. (Eilmes) (Dkt. No. 19240-2)

at 33:8–10; id. at 32:10–18. But he didn’t know how much 2,4-D the plaintiff used, nor did he

provide any basis to believe that exposure to 2,4-D would fall on the same dose-response curve

as the alleged carcinogenic effects of glyphosate. See id. at 34:25–35:4.

        18. The record Monsanto presents in Gordon fails to establish that Knopf should be

excluded. Knopf’s testimony that gender and race are not causative factors does not make his
opinion unreliable, nor does the fact that his report misstates the plaintiff’s race. See Knopf Dep.


                                                   7
     Case 3:16-md-02741-VC            Document 20411         Filed 03/31/25      Page 8 of 11




(Gordon) (Dkt. No. 19240-3) at 94:22–95:9. Monsanto’s surface-level questioning at deposition

regarding Gordon’s family history of cancer does not present enough of a record to exclude

Knopf for that reason either. See id. at 94:6–17.

       19. Monsanto’s motion in Haase is denied for the same reasons.

       20. Monsanto’s motion is granted in Hayden because Knopf did not adequately explain

how he ruled out the plaintiff’s shingles. Unlike in Stackhouse, where the plaintiff showed that it

was plausible that the record about other risk factors that Knopf missed was not accurate, the

plaintiff’s argument here seems to be more that it is acceptable for Knopf to have missed it, since

it was just in one record. But Knopf testified that he thought he had read the record saying the

plaintiff had a previous shingles infection and just didn’t think it was a contributing factor. See

Knopf Dep. (Hayden) (Dkt. No. 19240-5) at 26:7–20. Monsanto presented evidence that shingles

infections are associated with NHL, which Knopf made no attempt to rule out, so his opinion is

excluded. See id. at 28:7–31:25.

       21. Monsanto’s motion is denied in Huntley. Knopf’s decision to credit the plaintiff’s

sworn deposition testimony and multiple of her medical records to conclude she had never

smoked and thus rule it out is not inherently unreliable. On the issue of family history of cancer,

Knopf demonstrated a stronger command of the literature than in some earlier depositions, and

was somewhat better able to articulate why Roundup won out over family history. In addition, as
mentioned in several other recent rulings, Monsanto’s counsel conducted this deposition more

like a cross-examination at trial, not giving the witness much of a chance to explain his answers.

This is a close call, but the Court finds that Knopf’s testimony nudges his opinion into the

category of shaky-but-admissible. See Knopf Dep. (Dkt. No. 19048-9) at 15:17–24; Knopf Dep.

(Dkt. No. 20410-2) at 20:19–22:11.

       22. Monsanto’s motion is denied in Paula Pinheiro for the reasons discussed in Pretrial

Order No. 317. See Dkt. No. 20370.

       23. Monsanto’s motion is granted in Eduino Pinheiro because Knopf failed to reliably
rule out the plaintiff’s exposure to other glyphosate-based herbicides. Knopf’s testimony on this


                                                    8
     Case 3:16-md-02741-VC            Document 20411         Filed 03/31/25       Page 9 of 11




point is confusing. In one answer he testified both that the plaintiff “said he did not spray other

herbicides,” but also that he “may have used Gly Star or Farm Tek but not very much.” See

Knopf Dep. (E. Pinheiro) (Dkt. No. 19426-14) at 104:7–9. In another part of the testimony, he

agreed that the plaintiff said he used both of those herbicides. See id. at 101:17–21. Knopf’s only

attempt to explain how he could rule out the plaintiff’s exposure to other glyphosate-based

herbicides was to say that he only bought those other herbicides once or twice a year. See id. at

104:1–4. He made no attempt to quantify the plaintiff’s exposure, nor does it seem like he even

investigated the plaintiff’s use of those pesticides. Without that investigation, his opinion is

unreliable.

                                              *   *   *

       The Court will issue a ruling on Monsanto’s motions for summary judgment with the rest

of the Wave 7 cases. See Pretrial Order No. 314 (Dkt. No. 20341) at 3–4.

       IT IS SO ORDERED.

Dated: March 31, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




                                                  9
Case 3:16-md-02741-VC   Document 20411   Filed 03/31/25   Page 10 of 11




                          ATTACHMENT
    Case 3:16-md-02741-VC      Document 20411   Filed 03/31/25    Page 11 of 11




This document relates to:

 Aldoupolis v. Monsanto Co.,             Sorrell v. Monsanto Co.,
 Case No. 3:20-cv-03433-VC               Case No. 3:22-cv-05287-VC

 Booth v. Monsanto Co.,                  Stackhouse v. Monsanto Co.,
 Case No. 3:20-cv-04654-VC               Case No. 3:21-cv-02908-VC

 Casale v. Monsanto Co.,                 Williams v. Monsanto Co.,
 Case No. 3:19-cv-05238-VC               Case No. 3:20-cv-04758-VC

 Coressel v. Monsanto Co.,               Wistinghausen v. Monsanto Co.,
 Case No. 3:20-cv-03720-VC               Case No. 3:20-cv-00027-VC

 Cryan v. Monsanto Co.,                  Eilmes v. Monsanto Co.,
 Case No. 3:17-cv-05084-VC               Case No. 3:19-cv-05345-VC

 Dominique v. Monsanto Co.,              Gordon v. Monsanto Co.,
 Case No. 3:21-cv-02705-VC               Case No. 3:19-cv-06423-VC

 Doran v. Monsanto Co.,                  Haase v. Monsanto Co.,
 Case No. 3:20-cv-02650-VC               Case No. 3:19-cv-05957-VC

 Holliday v. Monsanto Co.,               Hayden v. Monsanto Co.,
 Case No. 3:19-cv-03014-VC               Case No. 3:19-cv-05600-VC

 Putzrath v. Monsanto Co.,               Huntley v. Monsanto Co.,
 Case No. 3:19-cv-03786-VC               Case No. 3:19-cv-06407-VC

 Rhuland v. Monsanto Co.,                Eduino Pinheiro v. Monsanto Co.,
 Case No. 3:19-cv-05598-VC               Case No. 3:21-cv-00041-VC

 Rowland v. Monsanto Co.,                Paula Pinheiro v. Monsanto Co.,
 Case No. 3:19-cv-05310-VC               Case No. 3:20-cv-08173-VC

 Setzer v. Monsanto Co.,
 Case No. 3:17-cv-03448-VC
